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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

  In re:                                          §
                                                  §     Chapter 7
  GOODMAN NETWORKS, INC.,                         §
                                                  §     Case No. 22-31641-mvl-7
            Debtor.                               §

      TRUSTEE’S OBJECTION TO MOTION FOR PARTIAL RECONSIDERATION

 TO THE HONORABLE MICHELLE V. LARSON, U.S. BANKRUPTCY JUDGE:

           COMES NOW Scott M. Seidel (the “Trustee”), the duly appointed chapter 7 trustee of the

 bankruptcy estate (the “Estate”) of Goodman Networks, Inc. (the “Debtor”), the debtor in the

 above styled and numbered bankruptcy case (the “Bankruptcy Case”), and files this his Objection

 to the Partial Motion to Reconsider or Clarify Order Approving Multi-Party Settlement Regarding

 Property of the Estate (the “Motion”), filed by 18920 NW 11th, LLC; Steven Zakharyayev;

 Evelina Pinkhasova; Hudson Clean Energy Enterprises, LLC; Alliance Texas Holdings, LLC; Neil

 Z. Auerbach; Judith Auerbach; Auerbach Partners, L.P.; Auerbach Children’s Dynasty Trust u/a/d

 October 9, 2012; and Auerbach Family Dynasty Trust u/a/d October 9, 2012 (collectively, the

 “Movants”), respectfully stating as follows:

           1.     The Movants—defendants of the estate who the Trustee has sued for tens of

 millions of dollars for various torts—were the only ones to object to the underlying settlement and,


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 having forced a contested hearing on that settlement, now seek to reconsider an important finding

 and conclusion regarding that settlement for the obvious and understandable reason that they do

 not want to defend themselves in two lawsuits. Understandable as their motivation may be, it

 would be more understandable for them to simply return the $9.5 million of ill-gotten gain they

 made, thereby saving themselves the large attorney’s fees, multiple litigation, and multiple

 liabilities that they complain of.

        2.      The Court entered the 9019 Order on March 29, 2024.

        3.      The Movants filed their Motion on April 17, 2024—more than fourteen (14) days

 after the entry of the 9019 Order. Bankruptcy Rule 9023 therefore does not apply. Any relief that

 can be granted to the Movants can only be granted, therefore, under Bankruptcy Rule 9024, which

 incorporates Rule 60 of the Federal Rules of Civil Procedure.

        4.      The Movants fail to specify what portion of Rule 60(b) may justify the relief they

 seek. Certainly, there was no “mistake, inadvertence, surprise, or excusable neglect,” or “newly

 discovered evidence,” or “fraud,” or a “satisfied judgment.” At most, their argument may be that

 “the judgment is void,” which would relate to the Court’s jurisdiction, or “any other reason that

 justifies relief,” which is an equitable reserve that does not appear applicable.

        5.      First, this Court has the jurisdiction—indeed the exclusive jurisdiction—to

 determine whether something is property of the estate. See 28 U.S.C. § 1334(e); See In re Brown,

 734 F.2d 119, 124 (2d Cir. 1984) (holding that bankruptcy court had exclusive jurisdiction to

 determine competing claims to property of the estate); In re Cox, 433 B.R. 911, 920 (Bankr. N.D.

 Ga. 2010) (“whenever there is a dispute regarding whether property is property of the bankruptcy

 estate, exclusive jurisdiction is in the bankruptcy court”); In re True, 285 B.R. 405, 412 (Bankr.

 W.D. Mo. 2002) (“this court has exclusive jurisdiction to decide whether certain property is




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 property of the bankruptcy estate”). Thus, this Court had the jurisdiction to decide whether the

 Amended FedEx Complaint implicated property of the estate.

        6.      Second, the Movants argue that “[t]here was no motion before the Court asking for

 a substantive ruling on this specific issue” and that “the merits of whether the claims by FedEx

 against Movants were personal to FedEx was not directly before the Court, and thus the Court’s

 ruling on this issue is an impermissible advisory opinion.” The Trustee might have agreed, except

 for the fact that it was the Movants themselves who interjected the substantive issue of whether the

 Amended FedEx Complaint violated the automatic stay, thus triggering a contested hearing at

 which they raised and argued this precise point (and never mentioned Bankruptcy Rule 7001).

 Aside from accusing the Trustee of having “lost his nerve,” and of attempting to “put lipstick on

 its illegal settlement,” the Movants repeatedly argued that the settlement could not be approved

 because the Amended FedEx Complaint constituted property of the Estate:

               “the claims asserted in the FedEx lawsuit belong to the Estate,” Objection at ¶ 4;

               “their financial and legal interests will be adversely impacted if the Court permits
                FedEx to continue to violate the Automatic Stay, as the proposed Settlement
                Agreement expressly would permit,” Id. at ¶ 20;

               “Movants therefore have standing to seek to prevent the erosion of the automatic stay
                by the 9019 Motion and ultimately to request that the Court enforce the automatic stay
                against FedEx,” Id. at ¶ 23;

               “The record likewise demonstrates that all the Disputed Claims derive from the
                same act—Debtor’s transfer of cash originally received from FedEx under the
                Master Services Agreement to third parties —that gives rise to the Estate’s claims.
                As a result, FedEx’s Lawsuit violates the Automatic Stay,” Id. at ¶ 30;

               “In sum, FedEx’s claims are not unique and FedEx has not alleged any
                individualized complaint against Movants . . . These claims belong to the Estate.”
                Id. at ¶ 37.

        7.      The Trustee agrees that FedEx’s original complaint violated the automatic stay; of

 course he does—the Trustee sued FedEx for that.            The issue of resulting damages was


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 compromised, as was the Trustee’s right. But that was a separate issue from whether the Amended

 FedEx Complaint violated the automatic stay by asserting estate causes of action: it did not, the

 Trustee agreed that it did not, and the Court—after the Movants interjected this very issue as the

 sole basis to deny the settlement—agreed with the Trustee and explained its reasoning in detail.

 The Movants simply do not like the result and they seek a second bite at the apple by taking their

 shot before this Court, now seeking to put the bullet that they fired back into the cylinder, and then

 trying again before the District Court. Substantively, they have given the Court no reason for why

 the Court’s conclusion or opinion was wrong, which of course is a threshold issue in seeking relief

 under Rule 60(b). It’s just a “do over,” which Rule 60(b) does not permit.

         8.      Finally, there is Rule 54(c) to consider, to the extent that the Trustee’s 9019 motion

 did not expressly request a finding or conclusion regarding the Amended FedEx Complaint. Rule

 54(c) provides that, except for a default judgment, “final judgment should grant the relief to which

 each party is entitled, even if the party has not demanded that relief in its pleadings.” FED. R.

 BANK. P. 54(c). This rule applied to the 9010 motion. See FED. R. BANK. P. 9014(c), making FED.

 R. BANKR. P. 7054 applicable. “Rule 54(c) has been liberally construed, leaving no question that

 it is the court’s duty to grant whatever relief is appropriate in the case on the facts proved. This

 includes injunctive relief when appropriate, and even when not specifically requested.” Kaszuk v.

 Bakery & Confectionery Union and Indus. Intern. Pension Fund, 791 F.2d 548, 559 (7th Cir. 1986)

 (internal citations and quotation omitted). Rule 54(c) is not absolute, however. The fundamental

 consideration is that “[t]he discretion afforded by Rule 54(c) thus assumes that a plaintiff’s

 entitlement to relief not specifically pled has been tested adversarially, tried by consent, or at least

 developed with meaningful notice to the defendant.” Peterson v. Bell Helicopter Textron Inc., 806

 F.3d 335, 340 (5th Cir. 2015).




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        9.      Here, all three alternatives are met: the Trustee’s motion and proposed order raised

 the issue of his belief that the Amended FedEx Complaint does not implicate property of the estate;

 at a minimum, this issue has been tried by consent as it is the Movants who directly interjected it;

 and there was certainly meaningful notice to the Movants as evidenced by, among other things,

 their ability to put together and file a thorough objection stating forth their views and case law,

 and their ability to capably present their arguments at the hearing.

        10.     The Trustee will end by assuring the Movants and the Court that, if FedEx again

 asserts what he believes to be property of the Estate, he will not be “meek” about it or permit

 FedEx to “usurp” his role: he will vigorously protect the property of the estate, the same as he has

 before. Any, insofar as the Movants profited by some $9.5 million by acting as shills to enable

 fraudulent transfers and breaches of fiduciary duty worth tens of millions of dollars more, and are

 now concerned about having to defend themselves and potentially facing multiple liabilities, the

 Trustee will simply note again that, if they want out of it, they know what they have to do.

        WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully requests that the

 Court deny the Motion and grant him such other and further relief as may be proper and

 appropriate.




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       RESPECTFULLY SUBMITTED this 25th day of April, 2024.

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                                       CERTIFICATE OF SERVICE

         The undersigned hereby certifies that, on this the 25th day of April, 2024, true and correct
 copies of this document were electronically served by the Court’s ECF system on parties entitled
 to notice thereof, including on counsel for the Movants.

                                                    By: /s/ Davor Rukavina
                                                        Davor Rukavina, Esq.




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